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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                            www.flsb.uscourts.gov
                                           CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                         4th Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                             Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:              Marie A Kai                                        JOINT DEBTOR:                                         CASE NO.:        16-26064-EPK
 Last Four Digits of SS#                   xxx-xx-8423                   Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $             620.00 for months            1      to        5       ;
           B.       $              99.00 for months            6      to       60       ;
           C.       $                     for months                  to                ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  4,175.00       TOTAL PAID $                       280.00
                     Balance Due       $             3,895.00 payable $ 563.63                   /month (Months          1   to     5   )
                                                                                                   70.00                                       6             20
                                                                                                   26.85                                       21            21
$3,50.00 Attorney Fee, $150.00 in fees, $500.00 Motion to pay interest, $25.00 in costs

Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.




                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate        Plan Payments Months of Payment        Total Plan Payments



Priority Creditors: [as defined in 11 U.S.C. §507]
       Dept of the Treasury
       Internal Revenue
       Service; Memphis, TN
 1.    37501                                    Total Due $                    2,591.33 @ 4% = Total $ 2,863.20
                                                                                  10.00              (Months 6 to 20)
                                                                                  53.15             (Months 21 to 21)
                                                Payable              $             68.21 /month            (Months 22 to 60) Regular Payment $                         N/A


Unsecured Creditors: Pay $ 10.00 /month (Months 6 to 21 ).
                     Pay $ 21.79 /month (Months 22 to 60 ).

Debtor will treat creditor, _OCWEN directly outside the plan by either selling, refinancing, curing,
applying for loan modification or defending against any foreclosure action with any possible defenses
available.

In the event of any of the aforesaid remedies occurring, debtor will modify the plan accordingly.

Debtor further agrees to relief from the stay for the creditor, OCWEN as debtor is not treated the
creditor in the Chapter 13 plan.

Debtor will treat creditor, FAIRFIELD LAKE CONDO directly outside the plan by either selling,
refinancing, curing, applying for loan modification or defending against any foreclosure action with any
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possible defenses available.

In the event of any of the aforesaid remedies occurring, debtor will modify the plan accordingly.

Debtor further agrees to relief from the stay for the creditor, FAIRFIELD LAKE CONDO as debtor is not
treated the creditor in the Chapter 13 plan.

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-

Chase Auto : 2015 Nissan Altima to be surrendered (POC #5)

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Marie A Kai
 Marie A Kai
 Debtor
 Date: May 2, 2017




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